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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                )
 UNITED STATES OF AMERICA                       )
                                                )
       v.                                       )       Criminal No. 16-CR-10343-ADB
                                                )
 MICHAEL L. BABICH et al.,                      )
                                                )
       Defendants.
                                                )

          DEFENDANT JOSEPH A. ROWAN’S MOTION IN LIMINE TO
     EXCLUDE TESTIMONY BY BETH MCKEY ABOUT MR. ROWAN’S PHONE

        Defendant Joseph Rowan moves that the Court prohibit the Government from presenting

testimony from Beth McKey that it knows to be false.

        On March 19, 2019, on cross-examination by Mr. Rowan’s attorney, Alec Burlakoff

testified as follows:

        Q. Do you remember that certain people had to turn in their cell phones so the
        company could produce copies to the government?

        A. Yes.

        Q. Okay. Do you remember you received a phone call from Joe Rowan in January
        of 2014?

        A. I believe so.

        Q. Okay. And he told you that his cell phone had gotten destroyed?

        A. Correct.

        …

        Q. Fair to say you never heard Rowan say he destroyed the phone, did you?

        A. I do not believe Joe Rowan destroyed the phone nor have I ever heard him say
        he destroyed the phone.

Trial Tr. 70:10-18 & 71:7-10, Mar. 19, 2019.
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       Mr. Burlakoff testified consistent with statements he had made to the government

in the past, as documented by an FBI 302 report.


       Despite Mr. Burlakoff’s emphatic and unsurprising answer, the government now

intends to elicit testimony from Beth McKey that Mr. Rowan told Mr. Burlakoff that he

destroyed his phone intentionally. Specifically, according to the agent’s notes, Ms.

McKey informed the government on January 3, 2019 that

       In or about January or February of 2014, Burlakoff was conversing with MCKEY,
       Rowan and Hill at a speaker training event believed to be in Chandler, AZ.
       Burlakoff was discussing the cell phone subpoena that was received. According to
       MCKEY, Rowan said “You could be like me and throw your phone off the side of
       a mountain and get rid of it. MCKEY said, “Seriously?” and Rowan replied “Hell
       yeah.” McKey 302 Report at 3, Jan. 3, 2019.

       Ms. McKey also told the government that “everyone started laughing,” when

Rowan “stated that he threw away his phone while skiing to get rid of the evidence,” and

that “[f]rom that point on, Burlakoff didn’t want anything in writing.” McKey 302 Report

at 9, Nov. 14, 2018. Ms. McKey’s prior statements to the government leave no doubt that

her expected testimony will directly contradict Mr. Burlakoff’s testimony that he never

heard Mr. Rowan state that he destroyed his phone. There is no factual scenario under

which both Mr. Burlakoff’s testimony and Ms. McKey’s expected testimony could be

true. In essence, the government intends to offer testimony that it knows to be false. The

Court should not permit the government to offer through its witnesses diametrically

opposed versions of the same events in the hopes that the jury chooses to believe the

version that serves the government’s allegations against Mr. Rowan. A criminal

prosecution should not be a game of roulette.




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       For the foregoing reasons, the Court should grant Defendant Joseph A. Rowan’s motion in

limine to exclude testimony by Beth McKey regarding Mr. Rowan’s phone.



 Dated: March 27, 2019                              Respectfully submitted,



                                                    /s/ Michael Kendall
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                                CERTIFICATE OF SERVICE

       I, Michael Kendall, hereby certify that a true and correct copy of this document filed
through the ECF system will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF) on March 27, 2019.

                                             /s/ Michael Kendall




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